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                                                 #:149691

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           16                      UNITED STATES DISTRICT COURT
           17            CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18
                   MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
           19      a Delaware corporation; and
                   CERCACOR LABORATORIES, INC.,                  APPLE’S APPLICATION TO FILE
           20      a Delaware corporation,                       UNDER SEAL ITS MEMORANDUM
                                                                 IN OPPOSITION TO PLAINTIFFS’
           21                         Plaintiffs,                MOTION UNDER RULE 50(A) FOR
                                                                 JUDGMENT AS A MATTER OF LAW
           22            v.                                      ON ALL DEFENSES AND CLAIMS
           23      APPLE INC.,
                   a California corporation,                     Trial: April 4, 2023
           24
                                      Defendant.
           25
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                    APPLE’S APPLICATION TO FILE UNDER SEAL ITS MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
Wilmer Cutler
                    MOTION UNDER RULE 50(A) FOR JUDGMENT AS A MATTER OF LAW ON ALL DEFENSES AND CLAIMS
Pickering Hale
and Dorr LLP
                                                                         CASE NO. 8:20-cv-00048-JVS (JDEX)
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                                                 #:149692

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Wilmer Cutler
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             1           Pursuant to Local Rule 79-5.2.2, Defendant Apple Inc. (“Apple”) requests that the
             2     Court grant leave to file under seal its Memorandum in Opposition to Plaintiffs’ Motion
             3     Under Rule 50(a) For Judgment as a Matter of Law on All Defenses and Claims
             4     (“Memorandum”).
             5           As detailed in the accompanying Declaration of Mark D. Selwyn, the redacted
             6     portions of the Memorandum quote, reference, or summarize information Plaintiffs have
             7     designated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” under the
             8     protective order or materials that have already been filed under seal.
             9           Accordingly, Apple respectfully requests an order granting leave to file its
           10      Memorandum under seal.
           11      Dated:       April 24, 2023            Respectfully submitted,
           12
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           13                                             MARK D. SELWYN
           14                                             AMY K. WIGMORE
                                                          JOSHUA H. LERNER
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           24                                             By: /s/ Mark D. Selwyn
                                                              Mark D. Selwyn
           25
           26                                             Attorneys for Defendant Apple Inc.
           27
           28
                    APPLE’S APPLICATION TO FILE UNDER SEAL ITS MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
Wilmer Cutler
                    MOTION UNDER RULE 50(A) FOR JUDGMENT AS A MATTER OF LAW ON ALL DEFENSES AND CLAIMS
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                                                               1         CASE NO. 8:20-cv-00048-JVS (JDEX)
